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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 22-CR-20104-MARTINEZ

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 WALTER VEINTEMILLA,

        Defendant.



                      DEFENDANT WALTER VEINTEMILLA’S
                     MOTION TO TAKE A RULE 15 DEPOSITION

      Comes Now, Defendant Walter Veintemilla, through undersigned Counsel,

 and respectfully moves this Court pursuant to Rule 15(a)(1) of the Federal Rules of

 Criminal Procedure to authorize a pre-trial deposition to preserve the testimony of

 J.C., foreign witness that resides in Bolivia and outside the subpoena power of the

 United States and who cannot travel to the United States due to immigration status

 and lack of required visa.

                              FACTUAL BACKGROUND

      Walter Veintemilla was arrested on February 14, 2023 and presently stands

 charged by Superseding Indictment (DE 552) with one count of: Conspiracy to

 Provide Material Support and Resources to Carry out a Violation of Section
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 956(a)(1) Resulting in Death, in violation of 18 U.S.C. § 2339A(a); Providing

 Material Support and Resources to Carry out a Violation Resulting in Death in

 violation of 18 U.S.C. § 2339A(a); Conspiracy to Kill and Kidnap a Person outside

 of the United States, in violation of 18 U.S.C. § 956(a)(1); Conspiracy to Commit

 Offenses Against the United States in violation of 18 U.S.C. § 371.; and Expedition

 Against a Friendly Nation, in violation of 18 U.S.C. § 960.

     At trial, the government will allege that Mr. Veintemilla, through his company,

 Worldwide Capital Lending Group (hereinafter “Worldwide”)1, knowingly funded

 an operation to assassinate President Moise of Haiti.

     Central to Mr. Veintemilla’s defense is evidence that he believed that several

 investigative and administrative agencies of the United States Government were

 aware of the actions and intentions of his alleged co-conspirators in Haiti and

 supported those actions. The defense will establish that Mr. Veintemilla understood

 that President Moise was little more than a violent gangleader who killed opposition

 leaders and caused immeasurable suffering to the Haitian people. and that it was

 Mr. Veintemilla’s understanding, based upon representations made by some of his

 alleged co-conspirators 2 and others, that the United States Governmnent supported



 1
   Mr. Ventemilla has two companies: Worldwide Capital Lending Group and Worldwide Mortgage
 Lending Group, Inc. The Fifth Superseding Indictment references only Worldwide Capital
 Lending Group.
 2
   Several of Mr. Veintemilla’s alleged co-conspirators were known to be working as Confidential
 Informants for the FBI and DEA.
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 Sannon in his efforts to become the next leader of Haiti and restore democracy to

 the long-suffering country.

       The defense will establish that the line of credit provided by Worldwide to

 CTU was intended to support Sanon while he was in Haiti seeking garnering popular

 support and to protect protestors demonstrating for a democratic government.

 Separately, Mr. Veintemilla will rely on evidence establishing that United States’

 governmental agencies were aware that Haitian officials and others planned to arrest

 President Moise with the assistance of CTU and appeared to support such plan. Mr.

 Veintemilla also intends to establish at trial that he and others were shown an arrest

 warrant for President Moises, and that the alleged co-conspirators sought the counsel

 of J.C., an Ecuadorian lawyer and so-called international law expert, to confirm the

 validity and legality of the arrest warrant. Upon information and belief, J.C. did

 confirm the validity and legality of the arrest warrant and issued a legal opinion to

 that effect. It is also of significance that J.C. was apparently sa confidential

 informant for an investigative agency of the United State at the time that he tendered

 the requested legal advice. J.C.’s testimony would accordingly support an essential

 part of Mr. Veintemilla’s defense and rebut the government’s theory of prosecution.

                            MEMORANDUM OF LAW

       Because the government has charged an international conspiracy, essential

 witnesses possessing relevant and probative information are located overseas. Rule
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 15(a)(1) authorizes the deposition of a prospective trial witness in order to preserve

 testimony for trial in “exceptional circumstances and in the interests of justice.” Fed.

 R. Crim. P. 15(a)(1). “Such circumstances exist when (1) the witness is unavailable

 to testify at trial, (2) their testimony is material, and (3) countervailing factors do not

 ‘render taking the deposition unjust to the nonmoving party.” Khan v. United States,

 928 F.3d 1264, 1269 (11th Cir. 2019) (citation omitted). “[O]rdinarily, exceptional

 circumstances exist within the meaning of Rule 15(a) when the prospective deponent

 is unavailable for trial and the absence of his or her testimony would result in an

 injustice.” United States v Drogoul, 1 F.3d 1546, 1552 (11th Cir. 1993).

    A. The witness is unavailable to testify at Mr. Veintemilla’s trial.

    A witness is unavailable under Rule 15(a)(1) when a “substantial likelihood

 exists that the proposed deponent will not testify [physically] at trial.” Id. at 1553.

 “A ‘substantial likelihood of unavailability’ exists when the proposed deponent is

 beyond the subpoena powers of the United States and has indicated his unwillingness

 to testify at trial.” United States v. Cordoba, No. 12-20157-CR, 2012 WL 3597416,

 at *4 (S.D. Fla. Aug. 20, 2012) (quoting United States v. Ramos, 45 F.3d 1519, 1522-

 23 (11th Cir. 1995)). And even when a potential witness is willing to testify, he may

 nonetheless be unavailable since “he cannot be subpoenaed upon changing his

 mind.”    Id. This prong of the test can be satisfied “simply through in-court

 representations by counsel” or affidavits from the witnesses. United States v.
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 Salamey, No. 8:19-CR-298-VMC-SPF, 2022 WL 35992, at *2 (M.D. Fla. Jan. 4,

 2022) (citing Drogoul, 1 F.3d at 1553).

       J.C. is not a U.S. citizen. Indeed, he is a Bolivian national who resides in

 Bolivia. He is accordingly outside the subpoena power of the United States.

 IFurther, upon information and belief, J.C. does not have a visa to travel to the United

 States. As a result, he is “unavailable” for purposes of Rule 15(a)(1).

       B. The Testimony of the Witness is Material to Mr. Veintemilla’s Defense.

 Mr. Veintemilla does not have to establish that J.C. is “a major witness” to establish

 the propriety of a Rule 15(a)(1) subpoena. It is sufficient that J.C.’s testimony is

 “material” to Mr. Veintemilla’s defense. United States v. Tovar-Montoya, 2015 WL

 12978154, at *2 (M.D. Fla. Apr. 2, 2015). Materiality can be established “by

 proffering ‘what the testimony will be.’” Id. (quoting Ramos, 45 F.3d at 1523-24).

 As described above, J.C.’s testimony is material and necessary to Mr. Veintemilla’s

 defense in that it will establish that Mr. Veintemilla and his alleged co-conspirators

 (1) acted in good faith, (2)believed that their actions were legal, (3) believed that

 their actions were known to and supported by the United States Government, and

 (4)that Mr. Veintemilla’s alleged “material support” for Sanon was not in

 contravention of law or United States’ foreign policy.
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       C. There are no Countervailing Factors that Render Taking Depositions
          Unjust to the Government.

           “[W]hen a prospective witness is unlikely to appear at trial and his or her

 testimony is critical to the case, simple fairness requires permitting the moving party

 to preserve the testimony . . . absent significant countervailing factors which would

 render the taking of the deposition unjust.” Drogoul, 1 F.3d at 1552. In Ramos, the

 Eleventh Circuit rejected the government’s argument that the following

 countervailing factors rendered the requested Rule 15 deposition of witness Yepez

 unjust:

       Yepez's testimony was suspect because he cannot be sanctioned for
       perjury; because the defense had neither taken nor scheduled the
       deposition when the magistrate vacated the order five days before trial,
       it was unclear the deposition could actually be taken; deposing a
       suspected drug dealer at a place and time arranged by an undisclosed
       third party in Medellin, Colombia, posed a serious threat to the
       prosecutor's safety; because the defense never detailed what Yepez's
       testimony would be, the testimony may have been irrelevant,
       cumulative, or inadmissible.

 Id. at 1523. The Eleventh Circuit found “that none of these factors, whether taken

 singly or together, render[ed] taking the deposition unjust.” Id.

       Likewise, in Mr. Ventemilla’s case, there are no countervailing factors

 precluding the requested deposition of J.C.. The fact that the witnesses live in

 Bolivia and cannot be immediately sanctioned for perjury does not render the

 deposition unjust. Id at 1523-24.
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                                   CONCLUSION

       Accordingly, for all these reasons, Mr. Veintemilla respectfully requests

 leave of Court to take Rule 15 depositions of J.C. in Bolivia.

             LOCAL RULE 88.9 CERTIFICATE OF CONFERRAL

       Undersigned conferred with the government, who advised that they oppose

 this request for Rule 15 deposition. Counsel for Defendants Arcangel Pretel Ortiz,

 Antonio Intriago, Christian Sanon, and James Solages advised that they join in this

 motion.



 Dated: July 1, 2024                    Respectfully submitted,


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                          CERTIFICATE OF SERVICE

       I HEREBY CERIFY that a copy of the foregoing has been served on all

 counsel of record electronically by utilizing CM/ECF or via electronic mail.

                                        By: /s/ Marissel Descalzo
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                                          Marissel Descalzo, Esq.
